  Case 23-60206        Doc 11      Filed 03/28/23 Entered 03/28/23 10:08:50        Desc Main
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SIGNED THIS 28th day of March, 2023


THIS ORDER HAS BEEN ENTERED ON THE DOCKET.
PLEASE SEE DOCKET FOR ENTRY DATE.




                          UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF VIRGINIA

IN RE: AMY NICOLE WALGE                                     CHAPTER 13
                                                            CASE NO. 23-60206
        Debtor.

       ORDER ON MOTION TO EXTEND AUTOMATIC STAY AND NOTICE OF
                     OPPORTUNITY FOR HEARING

     WHEREUPON this matter comes before the Court on the Debtor's Motion to Extend the
Automatic Stay and upon the agreement of the Chapter 13 Trustee;

                                             ORDERED

      That the Debtor's motion to extend the automatic stay is GRANTED, in part, and
CONTINUED, in part. The motion is GRANTED, and the automatic stay is EXTENDED to
May 11, 2023. The automatic stay shall remain in full force and effect until May 11, 2023.

        It is further O R D E R E D that the hearing on the Debtors’ motion is CONTINUED for
a hearing on a further extension of the automatic stay to May 11, 2023, to be heard at 9:30 a.m.
by Zoom, using URL https://vawb-uscourts-gov.zoomgov.com/j/1603692643 and Meeting ID:
1603692643. All parties connect using video conference instructions on the court website, to be
heard simultaneously with the confirmation of the plan in this case. Debtor is further ordered to
appear at the scheduled 341 hearing on 04/04/2023 and continue to make timely payments.

               A copy of this Order is directed to be forwarded to the Debtor, the Chapter 13
Trustee and to all creditors.

                                       ***END OF ORDER***




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I ask for this:

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Seen and Agreed:

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